     Case 10-21466-leb         Doc 15      Entered 07/12/10 14:53:20              Page 1 of 4



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                       UNITED STATES BANKRUPTCY COURT

                                   DISTRICT OF NEVADA

                                                       )   Case No. BKS-10-21466-BAM
In Re:                                                 )   Chapter 13
                                                       )
                                                       )   Hearing Date: August 27, 2010
          Joann F. Hall,                               )   Hearing Time: 3:00 P.M.
                                                       )
                                                       )
                                    Debtor(s).         )
                                                       )
                                                       )

 MOTION TO VALUE COLLATERAL, "STRIP OFF" AND MODIFY RIGHTS
 OF CITIMORTGAGE INC (ACCT ENDING IN 4973) PURSUANT TO 11 U.S.C.
                       §506(a) AND §1322


          Now Comes, Joann F. Hall (hereinafter the "Debtor"), by the law firm of

HAINES & KRIEGER, L.L.C., and attorney David Krieger, Esq., and moves this Court

pursuant to 11 U.S.C. §506(a), and §1322, and Bankruptcy Rules 3012 and 9014 and

states:

    1.       Debtor filed the instant Chapter 13, Case Number 10-21466 on June 20, 2010.

    2.       On the petition date, Debtor owned real property located at 6533 FAITH

             PEAK DRIVE, LAS VEGAS, NEVADA 89108 (hereinafter the "Subject

             Property").

    3.       The value of the Subject Property was $88,822.00 at the time the instant
             petition was filed.


                                                 -1-
     Case 10-21466-leb       Doc 15      Entered 07/12/10 14:53:20         Page 2 of 4




   4.      At the time of filing the instant petition, the Subject Property was subject to a

           priority lien held by CITIMORTGAGE INC (ACCT ENDING IN 8211) in an

           amount of $163,348.00.

   5.      Therefore, on the date the instant bankruptcy was filed, no equity existed in

           the Subject Property above the claims of CITIMORTGAGE INC (ACCT

           ENDING IN 8211).

   6.      CITIMORTGAGE INC (ACCT ENDING IN 4973)'s claim was wholly

           unsecured on the petition date and if the Subject Property was sold at auction

           CITIMORTGAGE INC (ACCT ENDING IN 4973) would receive nothing.

   7.      Accordingly, the Debtor requests that Your Honor find that

           CITIMORTGAGE INC (ACCT ENDING IN 4973)'s claim is wholly

           unsecured and CITIMORTGAGE INC (ACCT ENDING IN 4973)’s rights to

           foreclose on the Subject Property are hereby extinguished.

                                   LEGAL ARGUMENT


        In In re Zimmer, 313 F.3d 1220 (9th Cir. 2002), the Court stated that a wholly

unsecured lien holder's claim can be modified and reclassified as a general unsecured

claim pursuant to 11 U.S.C. §506(a), despite the anti-modification language in

§1322(b)(2). Specifically, the Court held:

               Section      506(a)   divides      creditors'   claims    into
               "secured…claims" and "unsecured claims." Although the
               conventional interpretation of "secured" might include any
               claim in which the creditor has a security interest in the
               Debtor's property, § 506(a) makes clear that the status of a
               claim depends on the valuation of the property. An
               allowed claim of a creditor secured by a lien on property in
               which the estate has an interest ... is a secured claim to the
               extent of the value of such creditor's interest in the estate's
               interest in such property ... and is an unsecured claim to the
               extent that the value of such creditor's interest ... is less
               than the amount of such allowed claim



                                             -2-
     Case 10-21466-leb         Doc 15       Entered 07/12/10 14:53:20       Page 3 of 4




                …

                To put it more simply, a claim such as a mortgage is not a
                "secured claim" to the extent that it exceeds the value of the
                property that secures it. Under the Bankruptcy Code,
                "secured claim" is thus a term of art; not every claim that
                is secured by a lien on property will be considered a
                "secured claim." Here, it is plain that PSB Lending's claim
                for the repayment of its loan is an unsecured claim, because
                its deed of trust is junior to the first deed of trust, and the
                value of the loan secured by the first deed of trust is greater
                than the value of the house.


             Accordingly, since CITIMORTGAGE INC (ACCT ENDING IN 4973)'s

claim is wholly unsecured (in that there is no extant equity above the first mortgage in the

Subject Property), CITIMORTGAGE INC (ACCT ENDING IN 4973) should be stripped

of its secured rights under State law since no maintainable security interest in the subject

property exists.

             Further, the Debtor is not required to file an adversary proceeding to achieve

the requested relief herein. Debtor may bring a motion to "strip off" CITIMORTGAGE

INC (ACCT ENDING IN 4973)'s consensual lien by motion. See In re Williams, 166

B.R. 615 (Bankr.E.D.Va.1994), In re Fuller, 255 B.R. 300 (Bankr.W.D.Mich.2000), In re

Hoskins, 262 B.R. 693 (Bankr.E.D.Mich.2001), In re King, 290 B.R. 641

(Bankr.C.D.Ill.2003), In re Millspaugh, 302 B.R. 90 (Bankr.D.Idaho 2003), Dickey v.

Ben. Fin. (In re Dickey) 293 B.R. 360 (Bankr.M.D.Pa.2003), In re Hill, 304 B.R. 800

(Bankr.S.D.Ohio 2003); In re Sadala 294 B.R. 180 (Bankr.M.D.Fla.2003), In re Fisher,

289 B.R. 544 (Bankr.W.D.N.Y.2003), In re Robert,313 B.R. 545 (Bankr.N.D.N.Y.2004),

In re Bennett, 312 B.R. 843 (Bankr.W.D.Ky.2004).

             WHEREFORE, Debtor prays that this Court:

        1.      Find that CITIMORTGAGE INC (ACCT ENDING IN 4973) is not a
holder of a lien on the Subject Property;




                                              -3-
     Case 10-21466-leb       Doc 15     Entered 07/12/10 14:53:20       Page 4 of 4




       2.      Immediately avoid, "Strip off", cancel and extinguish CITIMORTGAGE

INC (ACCT ENDING IN 4973)'s lien from the Subject Property pursuant to 11 U.S.C.

Section 506(a);

       3.      Such other relief the Court finds appropriate.

            Dated: July 12, 2010
                                                    /s/David Krieger, Esq.
                                                    David Krieger, Esq.
                                                    Attorney for Debtor(s)




                                           -4-
